           Case 7:24-cr-00182-DC         Document 1        Filed 09/25/24      Page 1 of 1
                                                                                         FILED
                                                                                         9/25/2024


                                                                                  CLERK, U.S. DISTRICT COURT
                        IN THE UNITED STATES DISTRICT COURT                       WESTERN DISTRICT OF TEXAS
                         FOR THE WESTERN DISTRICT OF TEXAS                            By:        KG
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                                        Od
                                      -/O EsSA DIVISION
                                           Ssa                                                         Deputy


 UNITED STATES OF AMERICA,                             §              Case No:           7:24-CR-00182

                                                       §

           Plaintiff,                                  §        IN D I C T ME N T
                                                       §

 v.                                                    §        18 U.S.C. §    1546(a) -Fraud and Misuse of Visas,
                                                       §
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                                     aS
                                      s                §        Permits, and   Other Documents

 also known as (a.k.a.): La Fresa,                     §

                                                       §
           Defendant.                                  §

                                                       §
        THE GRAND JURY CHARGES:

                                          COUNT ONE

        Beginning on or about August 8, 2023 and continuing to September 1, 2024 in the

                                              defendant,


                         ELEAZER KASSHOGGI MUJICA-ROJAS,
                                         a.k.a.: La Fresa,


did obtain, accept and receive a document prescribed by statute and regulation for entry into and


as evidence of authorized stay and employment in the United States, namely: an employment


authorization card, knowing it to have been procured by means of a false claim or statement,


procured by fraud, and unlawfully obtained, in violation of Title 18, United States Code, Section


1546(a).


                                             A TRUE BILL.




                                             FOREPERSON OF THE GRAND JURY


JAIME ESPARZA
United  es Attorney

By:
      Brandi Young

      Assistant United States Attorney
